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     Attorneys for Plaintiff
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11                        UNITED STATES DISTRICT COURT
                              DISTRICT OF ARIZONA
12
                                          )   Case No.: 2:17-cv-02755-MHB
13   Natanael Gallardo, by and
     through his attorney-in-fact         )
14   Gerardo Vargas,                      )   NOTICE OF SETTLEMENT
15                                        )
                   Plaintiff,             )
16                                        )
                           v.             )
17
     Center for Orthopedic Research       )
18   and Education, Inc. d/b/a The        )
     Core Institute,                      )
19
                   Defendants.            )
20                                        )
21                                        )

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           NOTICE IS HEREBY GIVEN that the dispute between Plaintiff Natanael
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     Gallardo (“Plaintiff”) and Defendant Center for Orthopedic Research and
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     Education, Inc. d/b/a The Core Institute (“Core”) has been resolved on an
25
     individual basis. The parties anticipate filing a Stipulation for Dismissal of the
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     Action as to the named Plaintiff’s claims against Core with prejudice, within 60
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     days. Plaintiff requests that all pending dates and filing requirements be vacated
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     NOTICE OF SETTLEMENT                     1
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1    and that the Court set a deadline on or after February 19, 2018 for filing a dismissal
2    as to Core.

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     Dated: December 19, 2017                            Respectfully submitted,
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5
                                                   BY: /S/ RYAN L. MCBRIDE_____
6                                                         RYAN L. MCBRIDE, ESQ.
7                                                         ATTORNEY FOR PLAINTIFF

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     NOTICE OF SETTLEMENT                     2
